        INTHEUNITEDSTATESDISTRICTCOURTFORT Enby0G n.c.
                SO UTH ERN DISTR ICT O F FLO RID A

W ILLIA M W EST ER V ELT ,
                                                   DEs212213
                                                                           s'
                                                                            rtivgq M . LARIVORE
                                                                           ctERx t? s Dis' r c'
                                                                                              r
             Plaintft;                                                    s o ofFLA - F7T t.Ata'o
VS.                                                 Case N o.:
                                                    H onorable Judge:
TR UNG VAN LE, lndividualCapacity
G REIG ,lndividualCapacity
LO W E,lndividualCapacity
JO H N SO N ,IndividualCapacity
                                                       C
                                                       ea
                                                        ct
                                                         sa
                                                          /d#
                                                            ,
                                                            vlqujp olglk
                                                        Judge            Mag
             Defendants.                                Motn lfp           Feepd$V D
                               l                       Receipt#

           CIVIL RIGH TS C OM PLAIN T UN PER 42 U .S.C.41983
                            W ITH JURY DEM AND

      This is a civilrights action filed by W illiam W estervelt, a state prisoner,for
damages under42 U.S.C.k1983,alleging a denialofmedicalcare in violation of
the Eighth Am endm entofthe U nited States Constitution.

                      STA TEM EN T OF JUR ISDICTIO N
   1) TheCourthasjurisdiction overtheplaintiffsclaim soffederalconstitutional
      violationsunder42 U.S.C.k1331(1)and 1343.

  2) The plaintiff was at a11 times a prisoner in the Florida Department of
     Corrections(F.D .O.C.)during theeventsasstated inthiscomplaint.

                                    D EFEN D A N T S
  3) DefendantTnmg Van Le isaphysician and employee ofW exford M edical
      Services and is responsible for ensuring provisions of m edical care to
      prisoners at Desoto Correctional Institution.H e is sued in his individual
      capacities.

  4) DefendantLowe is a registered nurse and employee ofW exford M edical
      Services and is responsible for ensuring provisions of m edical care to
      prisoners at D esoto Correctional Institution. She is sued in her individual
      capacities.

                                        1
  5) Defendant Jolm son is a physician and employee of W exford M edical
     Services and is responsible for ensuring provisions of m edical care to
     prisoners at M artin Correctional lnstitution H e is sued in his individual
                                                   .

     capacities.

  6) DefendantGreig isanurseand employee ofW exford M edicalServicesand
     is responsible forensuring provisionsofm edicalcare to prisoners atDesoto
     CorrectionalInstitution.She issued in herindividualcapacity.

  7) Alldefendantshave acted,continued to act,orto beprotected,undercolor
     ofstate 1aw ata11tim es relevantto thiscom plaint.

              EXH AUSTIO N O F ADM INISTR ATIV E REM EDIES
  8) The plaintiffhasexhausted hisadministrative remedieswith respectto a11
    claim s and a1ldefendants.

                            STA T EM EN T O F FA C T S
9) On 1/3/14,plaintiff while at Desoto Correctional lnstitution (D.C.1.), w as
   attacked and suffered seriousphysicalinjury requiring him to be life tlighted
   for em ergency surgery, it is pertinent to note that F D .O .C . staff had been
                                                          .

   im plicated.

10) The following morning on 1/4/14, over the surgeons objections the
   defendant w as returned to D .C I.and placed in a m edicalunit isolation cell.
                                  .

   Lateritwould be discovered hislefthand wasbroken, yetnothing wasdone.

11) During thisperiod the anesthesia and pain medication administered atthe
   hospitalslow ly wore offand the plaintiffbegan to experience extrem e pain in
   his leR hand,w hich w as sw ollen to the size ofa grapefruit
                                                              .




12) Despite the plaintiffsnumerous pleas formedicalattention he was denied
  treatm entby W exford M edicalStaff A1lofwhich stated the doctorw illsee
  you w hen he com es back on M onday The Plaintiffs request for a brace or a
                                          .

  A ce bandage w ere also denied.

13) Despite the plaintifps numerous pleas for medicalattention he was denied
  care by the defendantsasplead herein.


                                      2
 14) OnM onday,1/6/14,thePlaintiffwasseen bedefendantTrung VanLe,who
   examined his injuries.Upon examining the left hand he stated,(tyes it's
    definitely broken,you need an x-ray''   .




 15) The plaintiff believed that because of the obvious trauma, and the
   acknow ledgem entofdefendantTrung Van Le he would betaken im m ediately
   to Desoto General Hospital, this was not to be Defendant Trung Van Le
                                                      .

   stated itl'm not sending you out for an x-ray and cast A broken hand can
                                                              .

   wait.''As a direct result of this cruelpunishm ent l w as not given an x-ray
   until a week later and then it would take an additional three days for the
   radiology reportto com eback, as plead herein.

 16) The plaintiffhas since obtained a copy ofhis medicalfile,which revealed
   that defendant Trung Van Le's only actions after the exam ination and
   acknowledgem ent of plaintiffs broken hand was to order an x-ray to be
   taken,and discharge him from m edicalto beplaced in solitary confnement  .




17) Ratherthan send the plaintiffto Desoto GeneralHospital,where he would
   have received an inzm ediate x-ray and m edical attention, defendant Tnm g
   V an Le w ould use a m obile x-ray fin'
                                         n, Tech-c are X -Ray, w ho w as under
   contractand cam e to D .C.I.severaltim es a m onth Because ofthis,itwould
                                                          .

   be another w eek before the x-ray w astaken and resultsbecam e know n.




18) Defendant Trung Van Le's decision not to order immediate care for
   plaintiffs broken and shattered hand w as deliberate, contrary to acceptable
   physician protocoland w as fostered by i11w ill, spite,and hate.

19) On 1/13/14,defendantTrung Van Le,received theRadiology reportwhich
   stated:
             Findings: M ultiple views of the left hand dem onstrate
             com m inuted fractures ofthe necksofthe fourth and fifth
             m etacarpals.There ispalm arand lateralangulation ofthe
             m ain distalfracture fragm ent
                                         .. .




    Sim ply put,the plaintiffs lefthand w asbroken and shattered  .

20) Unbelievably,defendantTrung Van Le'sonly responsewasto write apass
  for dtno use oflefthand,m ay w ear hand brace, and 1ow bunk''.



                                       3
 21) The following day,1/14/14,defendantGreig,came to plaintiff'scellwith a
    package claim ing itwasa hand brace.Upon opening defendantGreig realized
    she had m istakenly broughta nylon leg circulation supportstocking A twhich
                                                                        .

    pointshe began laughing and stated,ç1lguess som eone though you needed a
    hose.1'11be back.''

 22) DefendantGrieg neverreturned assheknew and the medicalrecord attests
   thatdefendantTrung Van Le had notfilled outan orderfora hand brace To            .

   conceal the abuse as w ell as to cover the defendants torm ent of plaintiff,
   defendant Greig falsely noted in the plaintiffs m edical file that ithand brace
   returned to m edicalasitw asto loose.New hand brace ordered ''Theplaintiff
                                                                    .

   w ould neverreceive a hand brace orm edicalcare w hile atD C .I.
                                                                .




23) The medicalfilealso showsthatlateron 1/14/14,defendantTrung Van Le,
  held a Sscollegialconsult''in which the plaintiffs hand injury was discussed
   and it was determ ined that the dam age was so severe that he be sentto a
   tdhand surgeon''

24) Immediately aftertheapprovalon 1/14/14 a medicalhold wasplaced on the
   plaintiff and entered into the F.D .O .C . com puter system by D .C .I entry .

   operator L.Stordahlat 1:45 p.m .A tthis pointthe plaintiffshould have not
   been able to be transferred untilseeing a surgeon/specialist. The dam age at
   this tim e w as a direct and proxim ate result of defendant Trung V an Le's
   decision notto adm inisteror orderim m ediate care.




25) Yetironically asthesemedicaldecisionswhere being made theplaintiffsat
   in a solitary confinem ent cellbeing denied any and a11m edicaltreatm entor
   Care.


26) Over the next several weeks the plaintiff would be unlawfully cruelly
   punished by the decision notto treathis severely broken and shattered hand           .

   ln w hich the plaintiffsatin solitary confinem entdenied any and alltreatm ent       .

   During this period the plaintiffwould wrap hisbroken hand in tom bed sheet
  strips and soaked the broken hand in the toiletin an attem ptto relieve the pain
  and reduce the m assive sw elling.

27) Approximately one week later on 1/22/14,despite the medical hold the
  plaintiffwastransferred to South FloridaReception Center(S.F.R.C.) W here .
    upon arrivalhe w astold he wasgoing to confinem entand placed in a holding
    cell.

 28) Shortly after,theplaintiffwasseen by an unknown W exford M edicalnurse
    who asked the standard m edicalquestions for arriving inm ates The plaintiff
                                                                        .

    then explained and showedthenursehisinjuries.Upon seeinghishand which
    was stillextrem ely swollen stated $(1 don'tunderstand this There is nothing
                                                                    .

    on yourtransfersheet.1need to speak to the doctor''    .




 29) The nurse did notreturn and theplaintiffwassentto confinement B ecause         .

   the nurse did notnote,orrectify the plaintiffs now known m edicalcondition
   and lim itations he would now endure furtherpain and suffering Due to,but.

   notlim ited to being assigned an upperbunk  .




30) The plaintiff has since obtained the tstransfer sheet'' (Transfer/Arrival
  Summary)thatthe nurse spoke of,which wascompleted by defendantLowe
  atD.C.I.and itisin factdevoid ofinformation pertaining to theinjuries,and
   condition oftheplaintiff.

31) But even more outrageous is that defendant Lowe, while ignoring the
  m edicalhold,actually provided incorrectansw ersto gtlthepertinentmedical
                                                               ..

  questions,as if attempting to conceal the plaintiffs injuries.Despite this
   inform ation being directly in frontofheratthe tim e ofcom pletion           .




32) DefendantLowe circumvented the no transfermedicalhold by providing
   false inform ation on the plaintiffs transfer sheet Thus concealing defendant
                                                       .

   Trung Van Le's tortuous abuse ofplaintiff (Notrequiring immedi
                                               .
                                                                       atex-rays
   and having hand setand casted etc. .., and defendantGrieg's conductin not
   providing the hand brace and false m edical record regarding incorrect size
   know ing the brace w as never ordered by defendant Trung Van L              ,
                                                                                    e).This
   conductw as in furtherance ofplaintiffsabuse    .




33) Thefollowing week on 1/29/14,theplaintiffwasagain transferredto M artin
  C .l.U pon arrival the plaintiff im m ediately m ade staff aw are of his m edical
  issues. O nce again he w as told there w as nothing on the Transfer/A rrival
  Sum m ary.The Plaintiffw asagain taken to solitary confinem ent.

34) Review of the second Transfer/Anival Summary completed by W exford
  M edical,C .H ow ard,atS.F.R .C .reveals thatdespite being m ade aw are ofthe
  incorrect inform ation on the first Transfer/A rrival Sum m ary, C .H ow ard not
                                      5
    only failed to correctitbutliterally copied the incorrectinform ation from the
    firstTransfer/ArrivalSum m ary.Again the m edicalhold w asignored     .




 35) On January 30,2017,Plaintiffwhile atM artin C.1.,wasseen by Defendant
   Johnson. lnstead of utilizing the previous x-rays, w hich at this point w ere
   only three w eeks old,defendantJolm son ordered a second x-ray. Defendant
   Johnson also rew rote the identicalpasses issued by defendantTrung V an Le
   butdueto the condition ofthehand added thatthe plaintiffcould no longerbe
   handcuffed behind hisback.

36)lronically,although severalpasseshad been written forthe hand brace,the
   plaintiff would never receive the actual brace In fact, while under the
                                                      .

   supervision of defendant Johnson at M artin C I.the plaintiffw ould again be
                                                 .

   denied m edical treatm ent, never receive the second x-ray and the
   approval/m edicalhold to be seen by the hand surgeon seem ed to vanish The .

   plaintiff w ould continue to endure extrem e pain and suffering during this
   period.

37) Theplaintiffhad now been seen by two differentW exford M edicaldoctors
   and num erous W exford M edicalstaff,atthe three separate institutions, a1lof
   which acknow ledged hisbroken and shattered hand Yettheplaintiffreceived
                                                          .

   no actualm edicalcareortreatm ent.

38) Approximately two weeks lateron 2/11/14,theplaintiffwastransferred to
   M adison C.1.and wasagain placed in confinement    .




39) On February 25, 2014,the plaintiff was seen by Corizon M edical Dr                .

   M elendez,w ho was shocked atthe condition ofhislefthand Ithad now been
                                                                      .

   fifty-three(53)daysandthehand wasstillswollen and painful.Dr.M elendez
   stated, ttsom ething should have been done sooner You will need major
                                                              .

  reconstructive surgery now .''A twhich pointDr M elendez issued theplaintiff
                                                  .

  a hand brace.This w ould be the firsttim e he received m edicalcare for his
  hand.

40) On 3/10/14,theplaintiffwouldagain betransferredthistimeto W akullaC 1.        .

  Upon arrivalhe would be seen by Corizon M edicalN urseJ W eidem ann,w ho
                                                                  .

  im m ediately noted after view ing the plaintiffs hand dsneeds to see surgeon
  abouthand.''



                                     6
 41) Later, the plaintiff would be seen by Corizon Dr. Kozman, who after
   exam ining his lefthand,and review ing his m edicalfile, wrote the following:
   $dim properhealing ofthe 4thand 5thm etacarpalfractures, and deform ity ofthe
   lefthand.''

 42) The damaged condition of the plaintiffs hand atthis stage is a directand
   proxim ate resultofthe intentioned actionsofthe defendantasplead supra   .




                          CLAIM S FO R RELIEF

43) DefendantTrung Van Le'sdecisiontodeny theplaintiff m edicalcare forhis
    broken and shattered hand w as deliberate, contrary to acceptable physician
   protocoland fostered by illwill,spite,and hate W hich wasbroughtaboutby
                                                  .

   the urge to save m oney w ithoutregard ofthe pain and suffering ofplaintiff      .

   This tortuous conduct as plead supra, brought about further physical and
   m entalpain and needless suffering.Leading to perm anentdissgurem entand
   loss of full use of his left hand.This constitutes deliberate indifference to
   plaintiffs serious m edicalneed in violation ofthe Eighth Am endm entofthe
   United StatesConstitution.

44) DefendantGreig knowingly and intentionally allowed theplaintiffto endure
  extreme pain and suffering while in fact m ocking him and his broken and
  shattered hand. D efendant G reig w ould later conceal this abuse as w ell as
  coverher own torm entof the plaintiffthough false notations in the m edical
  file which was fostered by illwill, spite,and hate.Thisw asbroughtaboutby
  the urge to save m oney w ithout regard of the pain and suffering of plaintiff.

  This tortuous conduct as plead supra, brought about further physical and
  m entalpain and needless suffering.Leading to perm anentdisfigurem entand
  loss of fu11 use of his lefthand.This constitutes deliberate indifference to
  plaintiffs seriousm edicalneed in violation ofthe Eighth Am endm entofthe
  United StatesConstitution.

45) DefendantLowe knowingly and intentionally circumvented the no transfer
  m edical hold by providing false inform ation on plaintiff s Transfer/Arrival
  Sum m ary and thus concealing the tortuous conduct of defendants Trung V an
  Le and Greig.Defendant Low es actions would result in the plaintiff being
  transferred without any actual care and subject him to further pain and
  suffering.W hich w asbroughtaboutby illw ill, spite,and hate,and the urge to
  save m oney w ithoutregard ofthe pain and suffering ofplaintiff This tortuous
                                                                .

  conductas plead supra,broughtaboutfurther physicaland m entalpain and
  needlesssuffering.Leading to permanentdisfgurementand lossoffulluse of
  his left hand. This constitutes deliberate indifference to plaintiffs serious
  m edical need in violation of the Eighth Am endm ent of the United States
  Constitution.

46) Defendant Jolmson's decision to deny the plaintiff medical care for his
  broken hand and shattered hand w as deliberate, contrary to acceptable
  physician protocol and fostered by illwill, spite,and suffering of plaintiff.
  This tortuous conduct as plead supra, brought about further physical and
  mentalpain and needless suffering.Leading to perm anentdisfigurem entand
  loss of fulluse of his lefthand.This constitutes deliberate indifference to
  plaintiffs serious m edicalneed in violation ofthe Eighth Am endm entofthe
  United States C onstitution.

                         RELIEF REOUESTED
    W herefore,plaintiffrequeststhatthe courtgrantthe follow ing relief:
     A .A w ard com pensatory dam ages in the follow ing am ounts:
        1.$100,000jointly and severally againsta11defendantsnamed forthe
        physicalandmentalinjuriessustained asaresultoftheiractions.
     B. A w ard punitive dam agesin the follow ing am ounts:
         1.$100,000againstallnameddefendants.

     C.Grantsuch offerreliefasitm ay appearthatplaintiffin entitled

     Pursuantto 28 U.S.C.j 1746,1declareunderpenalty ofperjury thatthe
     foregoing istrue and correct.

     Signedthis11 dayof tjsl
                           ijtf ,2017.
                                               R espectfully Subm itted,
                                                       ..         ' ;'  w7.7.,:-J;---:J''
                                                                  gs..
                                                                     ,..
                                                                     '       ''
                                                     .'e
                PROVIDEDTO                       .
                                                            ,
                                                                          '.'
                                                                         .J



     SOUTHBAYW        CTIONALFACILIW           W illiam estervelt# 138254
       QN       F        F0R MAILiNG           South Bay C orrectionalFacility
                                               P.O .B ox 7171
                                               South B ay,FL 33493


                                       8
          IN TH E U NITED STATES DISTRICT CO URT FOR TH E
                   SOU TH ERN DISTRICT OF FLO RIDA

W ILLIA M W E ST ER V ELT ,
            Plaintff
                                                  C ase N o.:
                                                  Honorable Judge'
                                                                 .
TRUNG VAN LE, lndividualCapacity
G R EIG ,IndividualC apacity
LO W E,lndividualCapacity
JO H N SO N ,IndividualCapacity
            Defendants.
                               /

                                   SU M M O N S

TO TIIE ABOVE-NAM ED DEFENDANTIS): Johnson
      Y ou are hereby sum m oned and required to serve upon Plaintiff W illiam

W estervelt, w hose address is South B ay Correctional Facility. P.O . B ox 717 1.

South Bay.FL 33493 an answ erto the com plaintwhich is herew ith served upon

you,w ithin 20 days after service of this sum m ons upon you,exclusive ofthe day

ofservice.lfyou failto do so,judgmentby defaultmay be taken againstyou for
the reliefdem anded in the com plaint.



                                                   C lerk ofthe C ourt


                                                  D ate:
